Case:17-03283-LTS Doc#:514 Filed:06/27/17 Entered:06/27/17 20:15:52                                      Desc: Main
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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

 In re:                                                            PROMESA
 The Financial Oversight and Management Board                      Title III
 for Puerto Rico,

     as representative of                                          No. 17 BK 3283-LTS

 The Commonwealth of Puerto Rico, et al.
                                                                   (Jointly Administered)
      Debtors1

 In re:                                                            PROMESA
 The Financial Oversight and Management Board                      Title III
 for Puerto Rico,

      as representative of                                         No. 17 BK 3283-LTS

 The Commonwealth of Puerto Rico,

      Debtor.

 In re:                                                            PROMESA
 The Financial Oversight and Management Board                      Title III
 for Puerto Rico,

       as representative of                                        No. 17 BK 3284-LTS

 Puerto Rico Sales Tax Financing Corporation
 (“COFINA”),                                                       This document Relates to:2

       Debtor.                                                     17 BK 3283; 17 BK 3284



                  NOTICE OF SUBMISSION OF CERTIFIED TRANSLATIONS


 1
   The Debtors in these Title III Cases, along with each Debtor’s Title III case number and the last four (4) digits of
 each Debtor’s federal tax identification number are the (i) Commonwealth of Puerto Rico (Bankruptcy Case No. 17
 BK 3283-LTS) (Last Four Digits of Federal Tax ID: 3481); and (ii) Puerto Rico Sales Tax Financing Corporation
 (“COFINA”) (Bankruptcy Case No. 17 BK 3284) (Last Four Digits of Federal Tax ID: 8474).
 2
  Pursuant to Paragraph 5 of the Joint Administration Order entered in lead Case No. 17 BK 3283-LTS [Dkt. No.
 242], this pleading will be filed in both the lead Case No. 17 BK 3283-LTS and in Case No. 17 BK 3284-LTS.
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        COME NOW the Mutual Fund Group through the undersigned counsel, and

 respectfully state as follows:

        1.       On June 25, 2017, the Mutual Fund Group and the Puerto Rico Funds filed a Reply

 in Support of Motion for Relief from Automatic Stay (the “Reply in Support”). See Dkt. No. 171 in

 Case No. 17-BK-03284 and Dkt. No. 453 in Case No. 17-BK-03283. In the Reply in Support, the

 Mutual Fund Group and the Puerto Rico Funds requested leave from the Court to submit a copy

 of the following opinion issued by the Puerto Rico Supreme Court in the Spanish language:

 Burgos-Andujar v. Comision Estatal de Elecciones, 197 D.P.R. ___, 2017 T.S.P.R. 57, 2017 WL

 1656332 (P.R. Apr. 19, 2017). Id. at 14, FN16.

        2.       By way of this notice, the Mutual Fund Group submit the certified translation of

 Burgos-Andujar v. Comision Estatal de Elecciones, cited in the Reply in Support, attached herein

 as Exhibit 1.

        WHEREFORE, the Mutual Fund Group very respectfully request that this Honorable

 Court takes notice of the filing of the certified translation of Burgos-Andujar v. Comision Estatal

 de Elecciones, cited in the Reply in Support, and attached to this notice as Exhibit 1.

        RESPECTFULLY SUBMITTED,




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      In San Juan, Puerto Rico, today June 27, 2017.


  TORO, COLÓN, MULLET, RIVERA                     KRAMER LEVIN NAFTALIS &
  & SIFRE, P.S.C.                                 FRANKEL LLP

  s/ _Manuel Fernández-Bared___                   s/ David E. Blabey____________
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